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 1   Kathy L. Osborn (pro hac vice)
     Ryan M. Hurley (pro hac vice)
 2   Faegre Baker Daniels LLP
     300 N. Meridian Street, Suite 2700
 3   Indianapolis, IN 46204
     Telephone: (317) 237-0300
 4   Facsimile: (317) 237-1000
     kathy.osborn@FaegreBD.com
 5   ryan.hurley@FaegreBD.com

 6   Attorneys for Defendants Thomson SA
     and Thomson Consumer Electronics, Inc.
 7

 8   Guido Saveri (22349)
     R. Alexander Saveri (173102)
 9   Geoffrey C. Rushing (126910)
     Travis L. Manfredi (281779)
10   SAVERI & SAVERI, INC.
     706 Sansome Street
11   San Francisco, CA 94111
     Telephone: (415) 217-6810
12   Facsimile: (415) 217-6813

13   Interim Lead Counsel for Direct Purchaser Plaintiffs

14
                               UNITED STATES DISTRICT COURT
15                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
16

17   IN RE: CATHODE RAY TUBE (CRT)
     ANTITRUST LITIGATION
18

19                                                   Case No. 07-5944 SC

20   This Document Relates to:                       MDL No. 1917

21   Crago d/b/a Dash Computers, Inc., et al. v.     STIPULATION AND [PROPOSED]
                                                     ORDER REGARDING PRESERVATION
     Technicolor SA, et al., No. 14-cv-02058         OF ARGUMENTS FOR APPEAL
22

23
                                                     Judge: Hon. Samuel Conti
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               STIPULATION AND [PROPOSED] ORDER PRESERVING ARGUMENTS FOR APPEAL
                                    Case No. 07-5944; MDL NO. 1917
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 1          Pursuant to Civil Local Rules 6-2 and 7-12, Crago, d/b/a Dash Computers, Inc.; Arch

 2   Electronics, Inc.; Meijer, Inc.; Meijer Distribution, Inc.; Nathan Muchnick, Inc.; Princeton

 3   Display Technologies, Inc.; Radio & TV Equipment, Inc.; Studio Spectrum, Inc.; and Wettstein

 4   and Sons, Inc., d/b/a Wettsteins’s (collectively the “Direct Purchaser Plaintiffs” or “DPPs”), and

 5   Defendants Thomson S.A. (n.k.a. Technicolor S.A.) and Thomson Consumer Electronics, Inc.

 6   (n.k.a. Technicolor USA, Inc.) (collectively, the “Thomson Defendants”) have conferred by and

 7   through their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS

 8   FOLLOWS:

 9          WHEREAS, there is pending in the United States District Court for the Northern District

10   of California a multidistrict consolidated proceeding comprised of actions brought on behalf of

11   purported purchasers of cathode ray tubes (“CRT”) and CRT products, captioned as In re

12   Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 3:07-cv-05944 SC (MDL No. 1917) (the

13   “MDL Proceedings”);

14          WHEREAS, the DPPs have filed a Class Action Complaint, which is now pending in this

15   MDL, naming the Thomson Defendants as Defendants (the “DPP Complaint”);

16          WHEREAS, the DPPs have previously filed a substantially similar Consolidated

17   Amended Complaint alleging the same conduct and naming various other entities as Defendants;

18          WHEREAS, certain other plaintiffs (the “Direct Action Plaintiffs” or “DAPs”) have filed

19   substantially similar Complaints or Amended Complaints alleging the same conduct and naming

20   the Thomson Defendants as Defendants;

21          WHEREAS, the DAPs have also filed substantially similar Complaints or Amended

22   Complaints alleging the same conduct and naming various other entities as Defendants;

23          WHEREAS, on May 18, 2009 and June 17, 2009, Defendants other than the Thomson

24   Defendants filed several Motions to Dismiss the DPPs’ Consolidated Amended Complaint (Dkt.

25   463, 464, 466, 467, 474, 476, 479, 482, 485, 491, 492);

26          WHEREAS, on March 30, 2010, the Court issued an Order ruling on the other

27   Defendants’ Motions to Dismiss the DPPs’ Consolidated Amended Complaint (Dkt. 665);

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 1          WHEREAS, on December 12, 2011, Defendants other than the Thomson Defendants

 2   filed a Joint Motion for Summary Judgment with respect to the DPPs’ Consolidated Amended

 3   Complaint (Dkt. 1013);

 4          WHEREAS, on November 29, 2012, the Court issued an Order ruling on the other

 5   Defendants’ Joint Motion for Summary Judgment with respect to the DPPs’ Consolidated

 6   Amended Complaint (Dkt. 1470);

 7          WHEREAS, on August 17, 2012, Defendants other than the Thomson Defendants filed

 8   Motions to Dismiss and for Judgment on the Pleadings with respect to certain DAPs (Dkt. 1316,

 9   1317, 1319);

10          WHEREAS, on August 21, 2013, the Court issued an Order ruling on the other

11   Defendants’ Motions to Dismiss and for Judgment on the Pleadings (Dkt. 1856);

12          WHEREAS, on November 25, 2013, January 27, 2014, and February 7, 2014, Thomson

13   SA filed Motions to Dismiss and/or Strike with Prejudice the DAPs’ Complaints or Amended

14   Complaints (Dkt. 2235, 2355, 2373);

15          WHEREAS, on November 25, 2013, January 16, 2014, and January 27, 2014, Thomson

16   Consumer filed Motions to Dismiss and/or Strike with Prejudice the DAPs’ Complaints or

17   Amended Complaints (Dkt. 2236, 2329, 2353);

18          WHEREAS, on March 13, 2014, the Court issued an Order ruling on the Thomson

19   Defendants’ Motions to Dismiss and/or Strike with Prejudice the DAPs’ Complaints of Amended

20   Complaints (Dkt. 2440);

21          WHEREAS, Thomson Consumer’s deadline to answer or otherwise respond to the DPPs’

22   Complaint is May 30, 2014;

23          WHEREAS, the DPPs have requested that Thomson SA waive service of their

24   Complaint;

25          WHEREAS, the DPPs and the Thomson Defendants wish to conserve judicial resources

26   and avoid re-litigating issues previously decided by this Court while preserving any and all

27   appeal rights of the DPPs and the Thomson Defendants;

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 1          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel

 2   as follows:

 3          1.     All motions decided in the MDL to date are deemed to have been raised by the

 4   Thomson Defendants against the DPP Complaint, and the arguments raised in any such motions

 5   are preserved for appellate purposes as if they had been made by the Thomson Defendants

 6   against the DPP Complaint.

 7          2.     Thomson SA waives service of the DPP Complaint in accordance with Rule 4(d)

 8   Federal Rules of Civil Procedure.

 9          3.     The deadline for the Thomson Defendants to answer or otherwise respond to the

10   DPP Complaint shall be on or before July 30, 2014.

11

12
     Dated: May 30, 2014                         FAEGRE BAKER DANIELS LLP
13

14                                               By: /s/ Kathy L. Osborn
                                                Kathy L. Osborn (pro hac vice)
15                                              Ryan M. Hurley (pro hac vice)
                                                Faegre Baker Daniels LLP
16                                              300 N. Meridian Street, Suite 2700
                                                Indianapolis, IN 46204
17                                              Telephone: (317) 237-0300
                                                Facsimile: (317) 237-1000
18                                              kathy.osborn@FaegreBD.com
                                                ryan.hurley@FaegreBD.com
19
                                                Jeffrey S. Roberts (pro hac vice)
20                                              Faegre Baker Daniels LLP
                                                3200 Wells Fargo Center
21                                              1700 Lincoln Street
                                                Denver, CO 80203
22                                              Telephone: (303) 607-3500
                                                Facsimile: (303) 607-3600
23                                              jeff.roberts@FaegreBD.com
24                                              Calvin L. Litsey (SBN 289659)
                                                Faegre Baker Daniels LLP
25                                              1950 University Avenue, Suite 450
                                                East Palo Alto, CA 94303-2279
26                                              Telephone: (650) 324-6700
                                                Facsimile: (650) 324-6701
27                                              calvin.litsey@FaegreBD.com
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 1
                                                 Stephen M. Judge (pro hac vice)
 2                                               Faegre Baker Daniels LLP
                                                 202 S. Michigan Street, Suite 1400
 3                                               South Bend, IN 46601
                                                 Telephone: (574) 234-4149
 4                                               Facsimile: (574) 239-1900
                                                 steve.judge@FaegreBD.com
 5
                                                 Attorneys for Defendants Thomson SA and Thomson
 6                                               Consumer Electronics, Inc.

 7
     Dated: May 30, 2014                          SAVERI & SAVERI, INC.
 8

 9
                                                 By: /s/ Guido Saveri
10                                               Guido Saveri (22349)
                                                 R. Alexander Saveri (173102)
11                                               Geoffrey C. Rushing (126910)
                                                 Travis L. Manfredi (281779)
12                                               SAVERI & SAVERI, INC.
                                                 706 Sansome Street
13                                               San Francisco, CA 94111
                                                 Telephone: (415) 217-6810
14                                               Facsimile: (415) 217-6813

15                                               Interim Lead Counsel for Direct Purchaser
                                                 Plaintiffs
16

17   PURSUANT TO STIPULATION, IT IS SO ORDERED.
18

19           June 12, 2014
     Dated:___________________                        ___________________________________
20                                                                Hon. Samuel Conti
                                                              United States District Judge
21

22          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
23   document has been obtained from each of the above signatories.
24

25   Dated: May 30, 2014                          By: /s/ Kathy L. Osborn

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28
      STIPULATION AND [PROPOSED] ORDER REGARDING PRESERVATION OF ARGUMENTS FOR APPEAL
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